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 6                                 UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8   RAYMOND D. YOWELL,                  )
                                         )
 9              Plaintiff,               )
                                         )
10        v.                             )                           3:11-cv-518-RCJ-VPC
                                         )
11   ROBERT ABBEY et al.,                )                           ORDER
                                         )
12              Defendants               )
                                         )
13   ___________________________________ )
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           Currently before the Court is Plaintiff’s Motion for Personal Injunctive Relief (#43) and
15
     Federal Defendants’ Motion for Reconsideration of Order Denying Federal Defendants’ Motion
16
     to Dismiss Complaint (#59).
17
                                              BACKGROUND
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               On July 20, 2011, pro se Plaintiff Raymond D. Yowell (“Plaintiff”) filed a civil rights
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     complaint pursuant to 42 U.S.C. § 1983, 25 U.S.C. § 478, and Bivens v. Six Unknown Named
20
     Agents of the Fed. Bureau of Narcotics, 403 U.S. 388, 91 S.Ct. 1999, 29 L.Ed.2d 619 (1971),
21
     in this Court. (Compl. (#1) at 1). In the complaint, Plaintiff sued Robert Abbey1, Helen
22
     Hankins2, Department of the Treasury Financial Management Services (“Treasury-FMS”)3,
23
     Allied Interstate Inc., Pioneer Credit Recovery, Inc., The CBE Group, Inc., Cook Utah of
24
25         1
             Abbey is currently the National Director of the Bureau of Land Management (“BLM”),
26   but was the Nevada State Director of BLM in 2002. (Mot. to Dismiss (#4) at 3).
           2
27          Hankins is currently the Colorado State Director of BLM, but was the BLM Field
     Manager for the Elko Field Office in 2002. (Mot. to Dismiss (#4) at 3).
28         3
               Treasury-FMS is an institutional component of the Department of Treasury and
     manages the Treasury Offset Program which offsets federal payments to those persons and
     entities who are indebted to a federal agency. (Mot. to Dismiss (#4) at 3).
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 1   Duchesne, Jim Pitts4, Jim Connelley5, Dennis Journigan6, and Mark Torvinen (collectively
 2   “Defendants”). (Id. at 2-3, 6).
 3          The complaint alleged the following. (Id. at 7). Plaintiff was a Shoshone Indian, ward
 4   of the United States, and a member of the Te-Moak Tribe of the Western Shoshone Indians
 5   of Nevada. (Id.). He was a cattle rancher. (Id.). Throughout his life, Plaintiff let his livestock
 6   graze on the “historic grazing lands associated with the South Fork Indian Reservation.” (Id.).
 7   During the 1980s, the BLM attempted to get an Indian grazing association to sign a permit to
 8   graze livestock, but never approached Plaintiff directly. (Id.). Plaintiff never obtained a permit
 9   to graze his livestock because the proclamation that established the South Fork Indian
10   Reservation, pursuant to the Indian Reorganization Act, stated that the reservation came
11   “together with all range, and ranges, and range watering rights of every name, nature, kind and
12   description used in connection” with the described boundaries of the reservation. (Id.).
13   Plaintiff alleged that he was only exercising his treaty guaranteed vested rights to be a
14   herdsman and to graze his livestock on the ranges. (Id.).
15          The complaint alleged the following. (Id.). In the 1990s, the BLM alleged that Plaintiff
16   was trespassing. (Id.). On May 24, 2002, Defendants assembled where Plaintiff’s livestock
17   were grazing, gathered Plaintiff’s livestock, and seized the livestock without a warrant or court
18   order for the seizure. (Id. at 7, 14). Defendants then transported Plaintiff’s livestock over 300
19   miles to the BLM facility in Palomino Valley, Nevada. (Id. at 14). Defendants never gave
20   Plaintiff notice or an opportunity to dispute the underlying basis of the allegations against him.
21   (Id.). Defendants gave Plaintiff a “bill” for the seizure, transport, and alleged trespass fee in
22   excess of $150,000 and told Plaintiff that he had to pay or they would sell his livestock on May
23   31, 2002. (Id.). Defendants sold Plaintiff’s livestock on May 31, 2002. (Id.).
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25          4
                Pitts is the Sheriff of Elko County. (Mot. to Dismiss (#6) at 1).
26          5
                Connelley is a former Nevada State Brand Inspector. (Mot. for Summ. J. (#17) at 1).
27          6
                Journigan is a former Nevada Deputy State Brand Inspector. (Mot. for Summ. J.
28
     (#17) at 1).

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 1          The complaint alleged five causes of action. (Id. at 8-10, 14-15). In the first cause of
 2   action, Plaintiff alleged an unwarranted seizure of property in violation of the Fourth
 3   Amendment against Robert Abbey, Helen Hankins, Cook Utah of Duchesne, Jim Pitts, Jim
 4   Connelley, and Dennis Journigan. (Id. at 8). Specifically, Plaintiff alleged that Defendants had
 5   violated his rights when they “acted together in concert on May 24, 2002” and seized 132 of
 6   Plaintiff’s cattle that were grazing on historic grazing lands. (Id.).
 7          In the second cause of action, Plaintiff alleged a due process violation under the Fifth
 8   and Fourteenth Amendments against Robert Abbey, Helen Hankins, Cook Utah of Duchesne,
 9   Jim Pitts, Jim Connelley, and Dennis Journigan. (Id. at 9). Specifically, Plaintiff alleged that
10   Defendants violated his due process rights by depriving him of the ability to dispute the
11   underlying basis of the charges alleged against him when they presented him “with a bill for
12   the costs of gathering, transporting, and alleged trespass fees” and told him to pay the amount
13   by May 30, 2002, or his cattle would be sold and the proceeds retained by the BLM. (Id.).
14   Plaintiff alleged that Defendants violated his rights and the Nevada Revised Statutes when
15   they transported his livestock without his permission to a location 300 miles away. (Id.).
16   Plaintiff alleged that Defendants violated his rights by selling his cattle on May 31, 2002,
17   without his permission or his signature on the Brand Inspection Clearance Certificate in
18   violation of NRS § 565.120. (Id.). Plaintiff alleged that Defendants violated his due process
19   rights because they failed to provide him with a pre-deprivation hearing and terminated his
20   ownership rights without having jurisdiction over Plaintiff or his property. (Id.).
21          In the third cause of action, Plaintiff alleged that Robert Abbey, Helen Hankins, Cook
22   Utah of Duchesne, Jim Pitts, Jim Connelley, and Dennis Journigan violated Article VI of the
23   U.S. Constitution which provides that treaties made under the authority of the United States
24   are the supreme law of land. (Id. at 10). Specifically, Plaintiff alleged that the 1863 Treaty of
25   Ruby Valley, signed by the Western Shoshone Indians and the United States, provided that
26   the President would establish a reservation for the Shoshone to become herdsman and
27   agriculturalists. (Id.). Pursuant to the Indian Reorganization Act of 1934, the South Fork
28   Western Shoshone Indian Reservation was created in 1941 and provided that “all range,

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 1   ranges, and range watering rights [were] included as part of the South Fork Reservation.”
 2   (Id.). Defendants violated Plaintiff’s treaty rights when they seized his livestock on May 24,
 3   2002 without a warrant and without having jurisdiction over the ranges on which Plaintiff’s
 4   livestock were grazing. (Id.).
 5          In the fourth cause of action, Plaintiff alleged that Robert Abbey, Helen Hankins, and
 6   Cook Utah of Duchense had violated his civil rights by breaching the trust of the Indian
 7   Reorganization Act of 1934. (Id. at 14). Specifically, Plaintiff alleged that Defendants had
 8   failed to perform their trustee responsibilities “as agents of the Trustee of the Plaintiff.” (Id.).
 9   Plaintiff alleged that Defendants had interfered with his free enjoyment of the historic ranges
10   in his capacity as a Western Shoshone Indian. (Id.).
11          In the fifth cause of action, Plaintiff alleged that Robert Abbey, Helen Hankins, Cook
12   Utah of Duchesne, Treasury-FMS, Allied Interstate, Inc., Pioneer Credit Recovery, Inc., and
13   The CBE Group, Inc. violated his Fifth and Fourteenth Amendment due process rights by
14   seizing his livestock without a warrant or court order, selling his livestock below market prices,
15   and then attempting to collect a deficiency based on the alleged debt. (Id. at 15). Under the
16   direction of the BLM, Treasury-FMS attempted to collect over $180,000 from Plaintiff for costs
17   allegedly owed by Plaintiff. (Id.). Plaintiff was never given an opportunity to defend against
18   the underlying basis of the charges against him or the opportunity to challenge the validity of
19   the alleged debt. (Id.). Plaintiff informed the Department of Treasury that the debt was not
20   legitimate. (Id.). The Department of Treasury then assigned the debt to Allied Interstate who
21   attempted to collect the debt. (Id.). After Plaintiff told Allied Interstate that the debt was not
22   legitimate, Pioneer Credit Recovery attempted to collect the debt. (Id.). After informing
23   Pioneer Credit Recovery that the debt was not legitimate, The CBE Group attempted to collect
24   the debt. (Id.). After Plaintiff told The CBE Group that the debt was not legitimate, the
25   Department of Treasury attempted to collect the debt again. (Id.). The Department of
26   Treasury told Plaintiff that it would deduct a portion of his social security payment in order to
27   pay the debt. (Id.). On April 1, 2008, the Department of Treasury began deducting 15% of his
28   social security payment without providing him an opportunity for a hearing to challenge the

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 1   underlying basis of the alleged debt. (Id.). Plaintiff continues to suffer monthly damages.

 2   (Id.).

 3            In June 2012, this Court issued an order denying all of the pending motions to dismiss

 4   and motions for summary judgment. (Order (#37) at 11). With respect to Robert Abbey,

 5   Helen Hankins, and Treasury-FMS (collectively “Federal Defendants”), this Court found that

 6   the statute of limitations were tolled with respect to all five causes of action. (Id. at 9). The

 7   Court also stated, “with respect to Treasury-FMS, the only remedy available to Plaintiff against

 8   Treasury-FMS is a personal injunction requiring the BLM to withdraw their debt certification to

 9   Treasury-FMS and Treasury-FMS’s obligation to honor it forthwith. This remedy is based on

10   the BLM’s violation of Plaintiff’s due process rights in determining a deficiency debt owed and

11   its certification of that debt to Treasury-FMS.” (Id.).

12                                             DISCUSSION

13   I.       Plaintiff’s Motion for Personal Injunctive Relief (#43)

14            Plaintiff files a motion for personal injunctive relief in response to this Court’s order

15   stating that his only available remedy against Treasury-FMS is to file a personal injunction

16   requiring the BLM to withdraw their debt certification to Treasury-FMS. (Mot. for Personal

17   Injunctive Relief (#43) at 1). Plaintiff now makes this motion based on the BLM’s violation of

18   his due process rights in determining a deficiency debt owed and its certification to Treasury-

19   FMS. (Id.). Plaintiff also requests an injunction to direct Treasury-FMS to immediately return

20   the funds previously deducted from his monthly Social Security payments with compound

21   interest at the rate assessed against him by the BLM and Treasury-FMS. (Id.).

22            Federal Defendants filed a response opposing the motion. (See Resp. to Mot. for

23   Personal Injunctive Relief (#49)).

24            Pursuant to this Court’s June 2012 order, the Court grants in part and denies in part the

25   motion for personal injunctive relief (#43). The Court grants a personal injunction requiring the

26   BLM to withdraw their debt certification to Treasury-FMS. However, the Court denies Plaintiff’s

27   request to have Treasury-FMS immediately return the funds previously deducted from his

28   monthly Social Security payments with compound interest.


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 1   II.    Federal Defendants’ Motion for Reconsideration of Order Denying Federal
            Defendants’ Motion to Dismiss Complaint (#59)
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            Federal Defendants file a motion for reconsideration of this Court’s June 2012 order.
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     (Mot. for Reconsideration (#59) at 1). Federal Defendants argue that Plaintiff’s claims are
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     barred by the two-year statute of limitations and that the Court’s tolling facts are demonstrably
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     erroneous. (Id. at 6-7). Federal Defendants also argue that the claims against Treasury-FMS
 6
     must be dismissed because federal agencies cannot be sued under 42 U.S.C. § 1983 or
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     Bivens. (Id. at 11). Federal Defendants argue that qualified immunity bars the claims against
 8
     them. (Id.).
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            A motion to reconsider must set forth “some valid reason why the court should
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     reconsider its prior decision” and set “forth facts or law of a strongly convincing nature to
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     persuade the court to reverse its prior decision.” Frasure v. United States, 256 F.Supp.2d
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     1180, 1183 (D. Nev. 2003). Reconsideration is appropriate if this Court “(1) is presented with
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     newly discovered evidence, (2) committed clear error or the initial decision was manifestly
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     unjust, or (3) if there is an intervening change in controlling law.” Sch. Dist. No. 1J v. Acands,
15
     Inc., 5 F.3d 1255, 1263 (9th Cir. 1993). “A motion for reconsideration is not an avenue to
16
     re-litigate the same issues and arguments upon which the court already has ruled.” Brown v.
17
     Kinross Gold, U.S.A., 378 F.Supp.2d 1280, 1288 (D. Nev. 2005).
18
            The Court finds no valid reason to reconsider its prior decision and denies Federal
19
     Defendant’s motion for reconsideration (#59).
20
                                             CONCLUSION
21
            For the foregoing reasons, IT IS ORDERED that Plaintiff’s Motion for Personal
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     Injunctive Relief (#43) is GRANTED in part and DENIED in part. The Court grants a personal
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     injunction requiring the BLM to withdraw its debt certification to Treasury-FMS, but denies
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     Plaintiff’s request to have Treasury-FMS immediately return the funds previously deducted
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     from his monthly Social Security payments with compound interest.
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 1         IT IS FURTHER ORDERED that Federal Defendants’ Motion for Reconsideration of

 2   Order Denying Federal Defendants’ Motion to Dismiss Complaint (#59) is DENIED.

 3
 4         DATED: This _____  day
                        3rd day of of July, 2012.
                                   August,   2012.

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 6                                          _________________________________
                                            United States District Judge
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